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 7
 8                             UNITED STATES DISTRICT COURT
 9                            EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,       )        No. 10-477 LKK
                                     )
11                  Plaintiff,       )        ORDER
                                     )
12        v.                         )        Date: June 1, 2011
                                     )        Time: 9:15 a.m.
13   LONNIE TERRELL, ANTHONY         )        Judge: Hon. Lawrence K. Karlton
     MONTANO, ALEX LINDBERG, JEREMY )
14   TERRELL, NICHOLAS ROMAN, and    )
     RUTH JIMENEZ,                   )
15                                   )
                    Defendants.      )
16   _______________________________ )
17           This matter came before the Court for status conference on June 1,
18   2011.     The parties agreed to reschedule the status conference to July
19   19, 2011, at 9:15 a.m.       The parties also agreed to exclude time under
20   the Speedy Trial Act up to and including July 19, 2011, pursuant to 18
21   U.S.C. § 3161(h)(7), Local Code T4, for preparation of defense counsel.
22           Good cause appearing therefor,
23           IT IS ORDERED that this matter is continued to July 19, 2011, at
24   9:15 a.m.; and,
25   / / /
26   / / /
27   / / /
28   ORDER                                     1                              10-477 LKK
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 1           IT IS FURTHER ORDERED that the period from June 1, 2011, up to and
 2   including July 19, 2011, is excluded pursuant to 18 U.S.C. §
 3   3161(h)(7), Local Code T4, due to preparation of defense counsel.
 4   Dated:      June 3, 2011
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28   ORDER                                     2                              10-477 LKK
